                Case 1:16-cv-01686-SCJ Document 33 Filed 02/17/17 Page 1 of 1




                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

             JANNETTE LOPEZ,

                   Plaintiff,

                                                                    CIVIL ACTION NO.
                                                                    l:16-cv-1686-SCJ
             RIVERWOODS BEHAVIORAL
             HEALTH, LLC, d/b/a LAKEVIEW
             BEHAVIORAL HEALTH, LLC,

                   Defendants.


                                                  ORDER

                   Plaintiff having filed a Notice of Acceptance of Rule 68 Offer of Judgment

             (Doc. No. [32]), pursuant to Federal Rule of Civil Procedure 68, the Court hereby

             DIRECTS the Clerk to enter judgment in favor of Plaintiff and against Defendant

             in the amount of Fourteen Thousand Three Hundred Sixty-Six Dollars and

             Sixty-Two Cents ($14,366.62), plus interest, in satisfaction of Plaintiff's legal

             claims in this matter, exclusive of attorneys' fees and costs. Pursuant to Federal

             Rule of Civil Procedure 54, Plaintiff shall file her Petition for Attorneys' Fees and

             Costs within fourteen (14) days of the entry of the Judgment.

                          IT IS so ORDERED, this jiH          day of February, 2017.


                                               HONORABLE STEVE t . JONES
                                               UNITED STATES DISTRICT JUDGE



AO 72A
(Rev.8/82)
